Case 1:16-cv-01897-RLY-DLP Document 169 Filed 12/20/19 Page 1 of 3 PageID #: 1178




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

  Francina Smith, individually and on        )
  behalf of all others similarly situated,   )
                                             )
         Plaintiff,                          )
                                             )
         v.                                  )       No.   1:16-cv-1897-RLY-DLP
                                             )
 GC Services Limited Partnership, a          )
 Delaware limited partnership, ORG,          )
 GC GP Buyer, LLC, a Delaware limited        )
 liability company,                          )
                                             )
         Defendants.                         )

                                       NOTICE OF APPEAL

         Notice is hereby given that Francina Smith, individually and on behalf of all

  others similarly situated, hereby appeals to the United States Court of Appeals for the

  Seventh Circuit from the Final Judgment in this action, dated December 2, 2019. Copies

  of the Final Judgment (Dkt. 168), and the Entry On Class Representative’s Motion For

  Leave To File Second Amended Complaint (Dkt. 167), are attached hereto as Group

  Exhibit A.

                                                     Judy Dahl,

                                                     By: /s/ David J. Philipps____________
                                                     Class Counsel

  Dated: December 20, 2019




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                               CERTIFICATE OF SERVICE

           I certify that on December 20, 2019, a copy of the Class Representative’s
  NOTICE OF APPEAL was filed electronically. Notice of this filing will be sent to the
  parties by operation of the Court’s electronic filing system. Parties may access this
  filing through the Court’s system.

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